       Case 3:23-cv-05882-TMC Document 27-1 Filed 01/19/24 Page 1 of 2




                                                ‭HONORABLE TIFFANY M. CARTWRIGHT‬




                            ‭UNITED STATES DISTRICT COURT‬

                          ‭WESTERN DISTRICT OF WASHINGTON‬

                                           ‭AT TACOMA‬


 ‭BRAD ERHART,‬                                  ‭Case No. 3:23-cv-05882-TMC‬

                                ‭Plaintiff,‬
                                                 ‭[PROPOSED] ORDER GRANTING‬
         ‭v.‬
                                                 ‭PLAINTIFF’S MOTION FOR LEAVE‬
 ‭TRINET HR XI, INC., SWITCHBOARD‬
                                                 ‭TO FILE A SURREPLY IN RESPONSE‬
 ‭TECHNOLOGY LABS, INC. AND‬
                                                 ‭TO SWITCHBOARD TECHNOLOGY‬
 ‭HARTFORD LIFE AND ACCIDENT‬
                                                 ‭LABS INC.’S REPLY FILED ON‬
 ‭INSURANCE COMPANY, INC.,‬
                                                 ‭JANUARY 12, 2024‬
                                ‭Defendants.‬



       ‭Before the Court is a motion by Plaintiff, Brad Erhart, requesting leave of the court to‬

‭file a surreply to Switchboard’s reply filed on January 12, 2024. Having considered the‬

‭record, the Court GRANTS Brad Erhart’s motion for leave to file a surreply. The surreply‬

‭must be filed no later than February 12, 2024. Any additional reply by Switchboard must be‬

‭filed no later than February 16, 2024.‬

 [‭ PROPOSED] ORDER GRANTING PLAINTIFF’S‬        ‭ rad Erhart‬
                                                 B
  ‭MOTION FOR LEAVE TO FILE A SURREPLY IN‬       ‭300 SE 184th Ave Apt 101‬
   ‭RESP. TO SWITCHBOARD’S REPLY FILED ON‬        ‭Vancouver, WA 98683‬
    ‭JAN. 12, 2024 -‬‭1‬                           ‭971-319-2723‬
       Case 3:23-cv-05882-TMC Document 27-1 Filed 01/19/24 Page 2 of 2




        ‭IT IS SO ORDERED THIS ____ day of ________________________, 202__.‬


                                        ‭ _______________________________‬
                                        _
                                        ‭The Honorable Tiffany M. Cartwright‬
                                         ‭UNITED STATES DISTRICT COURT JUDGE‬


‭Presented by:‬

‭ rad Erhart‬
B
‭Pro Se Plaintiff‬

‭ y: /s/ Brad Erhart‬
B
‭Brad Erhart‬
 ‭300 SE 184th Ave Apt 101‬
  ‭Vancouver, WA 98683‬
   ‭971-319-2723‬
    ‭complaint@leo.spacejunk.dev‬
     ‭Pro Se Plaintiff‬




 [‭ PROPOSED] ORDER GRANTING PLAINTIFF’S‬    ‭ rad Erhart‬
                                             B
  ‭MOTION FOR LEAVE TO FILE A SURREPLY IN‬   ‭300 SE 184th Ave Apt 101‬
   ‭RESP. TO SWITCHBOARD’S REPLY FILED ON‬    ‭Vancouver, WA 98683‬
    ‭JAN. 12, 2024 -‬‭2‬                       ‭971-319-2723‬
